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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                            CASE NO.: 18-21914-CIV-SCOLA/TORRES

  CHARLENE MAJOR,

         Plaintiff,

  v.

  CARNIVAL CORPORATION,

         Defendant.
                                        /

                       DEFENDANT’S OMNIBUS MOTIONS IN LIMINE

         Defendant,    CARNIVAL        CORPORATION          d/b/a   CARNIVAL       CRUISE      LINE

  (“Carnival”), submits its motions in limine and states:

         1.      This Court should exclude evidence of prior incidents that are not
                 substantially similar.

         Plaintiff was involved in a physical altercation with another female passenger inside the

  casino on the Carnival Imagination. She filed this lawsuit against Carnival seeking damages for

  alleged injuries sustained during the fight. She claims that Carnival was negligent by failing to

  provide adequate security and by over-serving alcohol to other guests.

         In discovery, Carnival disclosed 13 prior incidents involving physical and verbal

  altercations in casinos on eight vessels within the same class over the three-year period preceding

  the subject incident. Five of the incidents disclosed were arguments where there was no physical

  altercation. Another two of these incidents were domestic disputes involving married couples.

  There were no prior incidents for the subject vessel, Imagination.

         Evidence of prior accidents or incidents is highly prejudicial. See Miller ex rel. Miller v.

  Ford Motor Co., 2004 WL 4054843 *1 (M.D. Fla. July 22, 2004). The Eleventh Circuit has
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  recognized the potentially prejudicial impact that alleged prior incidents can have on juries and

  has thus found that, to be admissible, prior incidents (1) must have occurred under substantially

  similar conditions and (2) must have occurred at a time that is not too remote from the incident in

  question. Id.; Jones v. Otis Elevator Co., 861 F.2d 655, 661-662 (11th Cir. 1988); Weeks v.

  Remington Arms Co., Inc., 733 F.2d 1485, 1491 (11th Cir. 1984); Borden, Inc. v. Fla. E. Coast

  Ry. Co., 772 F.2d 750, 755 (11th Cir. 1985); Hessen for Use and Benefit of Allstate Ins. Co. v.

  Jaguar Cars, Inc., 915 F.2d 641, 649 (11th Cir. 1990); Heath v. Suzuki Motor Corp., 126 F.3d

  1391, 1396 (11th Cir. 1997). “Substantial similarity means that the accidents must have occurred

  under similar circumstances or share the same cause.” Croskey v. BMW of North America, Inc.,

  532 F.3d 511, 518 (6th Cir. 2008); see also Hessen, 915 F.2d at 649. The party intending to

  offer evidence of prior incidents bears the burden of showing the substantial similarity between

  prior incidents and the incident at issue. See Croskey, 532 F.3d at 518 (citing Lewy v. Remington

  Arms Co., 836 F.2d 1104, 1109 (8th Cir. 1988)). A prior incident is only substantially similar

  where it is the result of the same underlying cause or risk-creating condition. See Sorrels v. NCL

  (Bahamas) Ltd., 2013 WL 6271522 (S.D. Fla. Dec. 4, 2013). aff’d in part rev’d in part 796 F.3d

  1275, 1287 (11th Cir. 2015). The burden is on the plaintiff to demonstrate that “conditions

  substantially similar to the occurrence in question must have caused the prior accident . . . [and]

  the prior accident must not have occurred too remote in time.” Jones v. Otis Elevator Co., 861

  F.2d 655, 661 (11th Cir. 1988) (internal citations omitted). Prior incidents are only admissible

  once the plaintiff has proven they are substantially similar to the instant case. Hessen v. Jaguar

  Cars, Inc., 915 F.2d 641, 649-50 (11th Cir. 1990).

         The probative value of the five prior incidents disclosed involving verbal arguments only

  with no physical altercation would be substantially outweighed by the dangers of unfair




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  prejudice and they should thus be excluded entirely because they are not substantially similar.

  Fed. R. Evid. 403. Here, Plaintiff claims that she was physically assaulted. Further, the two

  domestic dispute incidents disclosed should be excluded for the same reasons; a dispute between

  a husband and wife—even if it escalates into a physical altercation—is far different than a

  physical altercation between random passengers over a game of blackjack.

         Plaintiff cannot meet her burden of establishing substantial similarity between these

  seven prior incidents and her alleged physical assault, and evidence of same should be excluded.

  In this Circuit, the doctrine of substantial similarity “applies when one party seeks to admit prior

  accidents or occurrences involving the opposing party, in order to show, for example, notice,

  magnitude of danger involved, the [party’s] ability to correct a known defect, the lack of safety

  for intended uses, strength of a product, the standard of care, and causation.” Tran v. Toyota

  Motor Corp., 420 F.3d 1310, 1316 (11th Cir. 2005) (quoting Jones v. Otis Elevator Co., 861

  F.2d 655, 661 (11th Cir. 1988)). In addition, “this doctrine applies to protect parties against the

  admission of unfairly prejudicial evidence, evidence which, because it is not substantially similar

  to the accident or incident at issue, is apt to confuse or mislead the jury.” Tran, 420 F.3d at 1316.

  Because Plaintiff cannot meet her burden of establishing substantial similarity, the Court should

  exclude any reference or testimony as to the seven prior incidents disclosed involving purely

  verbal arguments and domestic disputes.

         2.      Plaintiff should be precluded from introducing the full amount of medical
                 bills rather than the amount actually paid.

         Carnival anticipates Plaintiff will attempt to introduce evidence of the full amount of

  medical bills charged by her providers instead of what was actually paid by any collateral

  sources. Carnival maintains that Plaintiff should only be allowed to request damages relating to




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  the actual amount of her medical bills paid and accepted and respectfully submits that it is

  improper to allow Plaintiff to recover an amount over what was actually paid by her providers.

         Plaintiff should be precluded from (1) collecting damages for medical expenses “written

  off” by her providers, and, therefore, from (2) presenting as evidence of her damages those

  medical charges that were “written off” by her providers and never paid by anyone. See

  Frauenthal v. Oceania Cruises, Inc., No. 15-21517-CIV, 2016 WL 2962897 (S.D. Fla. May 19,

  2016) (denying the plaintiff’s motion in limine to exclude evidence of collateral source); Tercero

  v. Carnival Corporation, Case 1:15-cv-21583-JLK (January 7, 2016) (Order Granting Motion To

  Exclude Evidence Of Medical Charges Written-off by Healthcare Providers); Berna Kellner v.

  NCL (Bahamas), Ltd., Case No. 15-23002-CIV-ALTONAGA/O’Sullivan (ECF No. 59) (holding

  that “Plaintiff may only introduce medical bills regarding amounts actually paid”); Szczurko v.

  Celebrity Cruises, Inc., Case No. 1:15-CV-20952-UU (Dec. 30, 2015) (Order Granting Motion

  to Preclude Plaintiff from Introducing Evidence of, or Claiming as Damages, Medical Charges

  “Written Off” by her Providers); Nappi v. Carnival Corp., Case No. 1:13-CV-21659-JLK (Oct.

  22, 2014) (ECF No. 51) (Order Granting Motion to Exclude Evidence of Medical Charges

  Written Off by Healthcare Providers); see also Smith v. Royal Caribbean Cruises, Ltd., No. 13-

  20697-CIV, 2014 WL 5312534, at *3 (S.D. Fla. Oct. 10, 2014) (granting the defendant cruise

  line’s motion in limine seeking to limit the introduction of medical expenses, as evidence of

  damages, to the amount the plaintiff actually paid and excluding any reference to any other

  amounts billed or paid by collateral sources).

         Following the incident, Plaintiff sought medical care and treatment, attended some

  therapy, and maintained health insurance throughout. Under the prevailing authority, Plaintiff is

  precluded from introducing evidence of (or claiming as damages) medical charges adjusted or




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  “written off” by certain medical providers for services connected with her claimed injuries.

  While Carnival disputes Plaintiff’s negligence claim, it does not dispute that, as the alleged

  tortfeasor, it may be obligated to compensate Plaintiff for sums paid by her or paid by collateral

  sources should it be found liable. Carnival, however, would not be obligated to compensate

  Plaintiff for amounts not actually owed or paid—by neither Plaintiff nor her collateral sources—

  that is, those amounts that were “written off.” Amounts “written off” are those portions of the

  original bill never paid, and for which no future obligation to pay exists, because the medical

  provider accepted an amount lesser than the amount originally billed as payment in full for the

  medical services. Plaintiff is not entitled to present evidence of or recover damages for these

  “written off” charges. Instead, only the damages actually incurred—whether by Plaintiff or a

  collateral source—should be presented as evidence of recoverable damages.

         3.      This Court should preclude any reference to the alleged assailants’ criminal
                 backgrounds.

         Carnival believes that Plaintiff may offer evidence or testimony regarding the criminal

  backgrounds and/or any crimes alleged to have been committed by the two passengers that

  Plaintiff claims assaulted her to show that on the date of the alleged incident these passengers

  were acting in accordance with their character. However, “[e]vidence of a crime, wrong, or

  other act is not admissible to prove a person’s character in order to show that on a particular

  occasion the person acted in accordance with the character.” Fed. R. Evid. 404(b). See also

  Boyd v. Alabama Dept. of Corr., 296 Fed. Appx. 907, 909 (11th Cir. 2008) (“[E]vidence of other

  crimes or bad acts is not admissible to prove the character of a person”).

         Further, Plaintiff would likely attempt to offer this evidence to show that Carnival should

  have been on notice of the alleged assailants’ propensity for crime or violence and taken actions

  to prevent them from committing crimes onboard, such as the assault alleged here. This would be



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  highly prejudicial and would be confusing and misleading. Carnival is not required by any state

  or federal law, including the CVSSA, to conduct criminal background searches on passengers

  before admitting them on its ships. Therefore, any testimony regarding the criminal backgrounds

  and/or any crimes alleged to have been committed by the two passengers that Plaintiff claims

  assaulted her should be excluded under Federal Rule of Evidence 403.

         4.      This Court should preclude any reference or evidence regarding any
                 subsequent incidents involving alleged assailant Timothy Stordahl.

         The night after Plaintiff’s altercation with Stordahl’s daughter, Stordahl was involved in a

  verbal altercation with other passengers inside the casino and was banned from the casino for the

  remainder of the cruise. At the end of the subject cruise, he was issued a letter advising him that

  he was being banned from cruising with Carnival in the future. However, due to a

  clerical/typographical error in the booking system, Stordahl was able to travel on another cruise a

  few months after the subject incident. On that subsequent cruise, Stordahl was involved in a

  physical altercation with a male passenger. Carnival produced video of that subsequent

  altercation during discovery in this matter. Carnival believes that Plaintiff may offer evidence or

  testimony regarding these subsequent incidents involving passenger Timothy Stordahl (one of

  the alleged assailants) to show that on the date of the alleged incident he was acting in

  accordance with his character.

         But as stated above, “[e]vidence of a crime, wrong, or other act is not admissible to prove

  a person’s character in order to show that on a particular occasion the person acted in accordance

  with the character.” Fed. R. Evid. 404(b). See also Boyd v. Alabama Dept. of Corr., 296 Fed.

  Appx. 907, 909 (11th Cir. 2008) (“[E]vidence of other crimes or bad acts is not admissible to

  prove the character of a person”). Rule 404(b) is subject to Rule 403, which provides that,

  “Although relevant, evidence may be excluded if its probative value is substantially outweighed



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  by the danger of unfair prejudice, confusion of the issues, or misleading the jury . . . .” United

  States v. Catano, 553 F.2d 497, 500 (5th Cir. 1977).

         Carnival disputes Plaintiff’s allegation that Stordahl physically assaulted her. Numerous

  eyewitnesses, including independent witness Tobias Tucker, have confirmed that Stordahl did

  not physically assault Plaintiff. Plaintiff would likely attempt to offer the evidence that Stordahl

  was involved in subsequent incidents, including a subsequent physical altercation, to show that

  he physically assaulted her during the subject incident. Besides being impermissible under Rule

  404, this would be unfairly prejudicial, would confuse the issues, and would mislead the jury.

  Therefore, any testimony or evidence regarding any subsequent incidents involving Stordahl

  should be excluded under Federal Rule of Evidence 403 and 404.

                                   S.D. Fla. L.R. 7.1 Certification

         I certify that I have conferred with all parties or non-parties who may be affected by the

  relief sought in this motion, in a good-faith effort to resolve the issues raised in this motion, but

  have been unable to do so.

                                                         Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

         I certify that on May 21, 2019, I electronically filed the foregoing document with the

  Clerk to the Court using CM/ECF. I also certify that the foregoing document is being served this

  day on all counsel of record or pro se parties identified on the below Service List in the manner

  specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or in

  some other authorized manner for those counsel or parties who are not authorized to receive

  electronically Notices of Electronic Filing.


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